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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

CHARLES HERBERT STYRON, et al.                    )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )   CIVIL ACTION NO. 03-0572-CG-L
                                                  )
CITY OF FOLEY, et al.,                            )
                                                  )
       Defendants.                                )

                          MEMORANDUM OPINION AND ORDER

       This cause is before the court on the motion of defendants, City Of Foley, James Miller ,

James Brown, Bruce Thrift, Darren Miller, Tony Nelson, and Heidi Loftis, for summary

judgment (Doc. 44), plaintiffs’ response thereto (Doc. 64), and defendants’ reply (Doc. 70). For

the reasons stated below, the court finds that defendants’ motion is due to be granted.

                                              FACTS

       This case arises from alleged injuries plaintiffs received on August 26, 2001. On that

date, plaintiffs were burning their fields for farming purposes. (H. Styron Depo. p. 13). Officer

Heidi Loftis observed thick smoke coming over County Road 12 which made it difficult for

drivers to safely navigate the road. (Transcript pp. 15-16). Loftis stopped and spoke to Terry

Styron about the problem with the smoke. (T. Styron Depo. p. 22). Loftis reportedly told Terry

Styron to put out the fire, he agreed, and she left. (Transcript pp. 21-22). Shortly thereafter,

officers were dispatched to the area because the smoke was still affecting visibility on the road.

(Transcript pp. 97-98). The officers informed Herbert Styron that they would have to put out the

fire. (Transcript p. 225). Shortly thereafter, a physical confrontation occurred between Herbert



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Styron and Officer Shawn Miller, and Herbert Styron was sprayed in the face with pepper spray.

(H. Styron Depo. pp. 28-30, Transcript p. 226). Officer Shawn Miller wrestled with Herbert

Styron, trying to get handcuffs on him. (Transcript p. 226). Herbert Styron would not let the

officer put handcuffs on him. (Transcript p. 226). According to Herbert Styron, three or four

officers joined in the struggle. (Transcript p. 227). Herbert Styron testified that he gave up his

hands and the officers still would not get off of him. (Transcript p. 227). Herbert Styron

contends that after he was handcuffed and flat on the ground, officers kept punching and kicking

him. (H. Styron Depo. pp. 37-39, Transcript p. 228). Herbert Styron says he saw the officers

attacking Terry and so he ran to jump on top of Terry to protect him, but an officer grabbed him

by the handcuffs, hit him in the head with a billy club and threw him in the ditch and jumped on

his back. (H. Styron Depo. p. 43).

       At some point during the confrontation with Herbert Styron, the Fire Chief, Richard

Glen, approached Terry and attempted to take from Terry a rake he was carrying and a struggle

ensued. (T. Styron Depo. p. 43). Officer Loftis intervened and reportedly told Terry Styron he

was under arrest. (Transcript pp. 27-28). Loftis and Terry Styron began walking to the police

car, but Terry Styron allegedly struck Loftis in the back of the head. (Transcript pp. 28-29).

According to Terry Styron, Loftis, without provocation, told him to go to her car, that she was

going to spray him. (Transcript pp. 199, 219). A struggle ensued and Terry Styron took the

pepper spray from Loftis. (Transcript p. 200). Terry Styron said it was at that time that he

noticed the confrontation between the officers and his father. (Transcript p. 200). Terry helped

get his father up on his knees and tried to wipe the pepper spray out of his fathers eyes with a

handkerchief from his pocket. (Transcript pp. 202, 227-28). According to Terry Styron, his


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father, Herbert, was handcuffed by that time. (Transcript p. 202). Shortly thereafter, officers

reportedly grabbed Terry by his shoulders and told him to get in the patrol car. (Transcript p.

203). Terry claims the officers then hit him with a baton. (Transcript p. 204). Terry Styron

claims officers pushed him down and started beating him with a stick. (Transcript p. 204).

According to Terry Styron, after the officers beat him, he handed the pepper spray back to the

officers and then put his hands behind him for them to cuff him. (Transcript p. 206). According

to Terry, after he was cuffed, the officers sprayed him with pepper spray (T. Styrone Depo. p.

77, Transcript p. 207). According to the officers, Terry Styron became violent, kicking officer

Nelson in the groin. (Transcript pp. 31-35, 151-154). Terry Styron was not handcuffed during

this physical confrontation with the officers. (Transcript pp. 31, 152). He was then taken to the

police station where he was finally allowed to wash the pepper spray from his eyes, but the water

cut off before he was able to finish and he was unable to see for another hour. (Transcript p. 209,

T. Styron Depo. 82-83). When Terry Styron was being checked in, he told the officers that he

was hurting badly, but they told him they did not care and nothing was done. (T. Styron Depo.

pp. 95-96). The officers asked him if he was on any medication or had any medical conditions,

and he answered “no.” (T. Styrone Depo. p. 95). In his jail cell, Terry Styron was given a wash

cloth and was finally able to get some water to finish washing the pepper spray out of his eyes.

(T. Styron Depo. pp. 85-86). Terry Styron stayed in the jail from Sunday afternoon until

Tuesday morning. (T. Styron Depo. p. 90). According to Terry Styron, a county officer came to

pick him up to take him to Bay Minette three times, but the officers at the jail where he was in

custody told him they did not have the paperwork ready. (T. Styron Depo. pp. 87-88). Terry

Styron also claims he overheard officers talking on the phone reporting that the deputy had not


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come yet to pick up Terry Styron, when, in fact, the deputy was standing at the desk. (T. Styron

Depo. p. 88). After being released from jail, Terry Styron went to the emergency room and was

given a prescription for pain medication. (T. Styron Depo. p. 94). He was later diagnosed with

hernias. (T. Styron Depo. pp. 94, 100).

       Herbert Styron got sick and passed out while being transported in the car. Officer Nelson

poured water on him and got him out of the car. (Transcript p. 229). Herbert was taken by

ambulance to the hospital. (Transcript p. 229). He was later transported to the jail. (H. Styron

Depo. p. 60). At the jail, Herbert Styron took a pocket knife out of his pocket to give it to the

officer, and the officer slammed him against the wall. (H. Styron Depo. pp. 60-61). According

to Herbert Styron, he was sick and threw up all night long, but the jailers, who could see him, did

nothing to help. (H. Styron Depo. p. 65). A female officer told him if he threw up on the floor he

would have to clean it up. (H. Styron Depo. pp. 62-64). He had no mattress to lay on in the cell.

(H. Styron Depo. p. 67). Herbert Styron states that he received pain medication from the

hospital that night and that he gave a slip of paper that he thinks had instructions on when or how

to take the medicine to an officer at the jail. (H. Styron pp. 98-101). Herbert Styron cannot read

and so did not know what the slip of paper said. (H. Styron p. 101). He did not know what the

instructions were. (H. Styron p. 102). Herbert Styron asked for his blood pressure medicine and

someone brought it to the jail and the jailer gave it to him. (H. Styron pp. 102-104). Herbert

Styron says he asked for the pain medication, but no one gave him the pain medication. (H.

Styron Depo. pp. 104-105). Chief James Miller states that the jailers and other officers on duty

are vested with the responsibility of making sure that inmates receive proper care, and he does

not generally go back and check up on them, but trusts that the people he put in those positions


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will do their job. (Miller Depo. pp. 44-45). Neither Terry nor Herbert Styron had their pictures

taken when they were booked into the jail, although that is the normal procedure to establish

their condition on arrival (Miller Depo. pp. 23-26). Herbert Styron was photographed in the

morning. (H. Styron Depo. p. 64). Herbert Styron told “them” when he was fingerprinted that he

had been cold during the night and early morning in his jail cell. (H. Styron Depo. p. 64).

According to Herbert Styron, he was still throwing up when he was being photographed and

fingerprinted. (H. Styron Depo. p. 65). Terry and Herbert Styron were also denied visitation by

a family member and were not allowed bail release until August 28, 2001.

       Plaintiffs’ expert witness, Charles A. Lindquist, Ph.D., opined the following:

       If testimony and additional reports indicate that the information presented in
       Section B.1 of this report is basically correct, then it is clear that the Styrons were
       not properly protected from injury. By their choices of action/inaction, the City
       of Foley Police Department demonstrated a callous disregard for the rights of
       Charles and Terry Styron.

(Doc. 65, Ex. 1, Lindquist Report p. 4, ¶ D). Defendants’ expert, Dennis Waller, is of the

opinion that:

       At the time of Charles Herbert Styron’s incarceration the Foley Police
       Department had a reasonable policy and practice in place for providing health
       care services to occupants of the jail. That policy appears to be consistent with
       nationally accepted standards of law enforcement practice. Per the documentation
       provided, the policy appears to have been carried out in a reasonable and prudent
       manner.


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         Section B of Lindquist’s report includes plaintiffs’ allegations that no immediate first
aid was provided to plaintiffs at the scene for their injuries, spray decontamination procedures
were not immediately instituted at the scene, Terry Styron was left in a closed police vehicle at
the police station for “some period of time” without receiving any medical attention, Charles
Styron was not allowed to take any of the medication provided by the hospital for his pain, both
prisoners were apparently denied visitation and were not allowed bail release until the morning
of August 28, 2001, and plaintiffs were injured as a result of their treatment by the City of Foley
Police Department.

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(Doc. 71, Ex. 3 - Waller Supplemental Report p. 3, ¶ I). Mr. Waller further states that Herbert

Styron was properly provided with documented medication, in that he received one dose of

Lotrel at 9:00 p.m. and that there was no documentation that Mr. Styron was in possession of any

additional medication. (Waller Supplemental Report p. 3, ¶ I(1)). Mr. Waller states that “Jail

personnel are expected to monitor the activities of, and provide services for, occupants of the

jail. In so doing, all medications must be documented and the distribution of same must be

carefully controlled per the prescribing physicians’ orders.” (Waller Supplemental Report p. 3, ¶

I(2)).

         Herbert Styron was charged and convicted by a jury of obstructing governmental

operations, resisting arrest, and assault in the third degree of Shawn Miller. Terry Styron was

charged and convicted of obstructing governmental operations, resisting arrest, and assault in the

third degree of Heidi Loftis and Tony Nelson. The jury was instructed that:

        a person commits the crime of obstructing governmental operations if by means of intimidation, physical
act the person intentionally obstructs, impairs, or hinders the administration of law or other
governmental function. And the Legislature has defined a governmental function as any activity
which a public servant is legally authorized to undertake on behalf of a government.

(Transcript p. 286). As to the charge of resisting arrest, the jury was also instructed that:

         a person commits the crime of resisting arrest if the person intentionally prevents
         or attempts to prevent a peace officer from effecting a lawful arrest of himself or
         another person.

(Transcript p. 291). Lastly, the jury was instructed that:

         a person commits the offense of assault in the third degree if he causes physical injury to
         any person with the intent to cause physical injury to that person.

                                                ****

         And with respect to the charges of assault in the third degree, one of the issues is
         the defense named self-defense. And the law says that a person is justified in

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       using physical force upon another person in order to defend himself or a third
       person from what he reasonably believes to be the use or imminent use of
       unlawful physical force by that other person, and he may use a degree of force
       which he reasonably believes to be necessary for the purpose.

(Transcript pp. 294-96).

                                       LEGAL ANALYSIS

A. Summary Judgment Standard

       Federal Rule of Civil Procedure 56(c) provides that summary judgment shall be granted:

“if the pleadings, depositions, answers to interrogatories, and admissions on file, together with

the affidavits, if any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to judgment as a matter of law.” The trial court’s function is not “to

weigh the evidence and determine the truth of the matter but to determine whether there is a

genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). “The mere
existence of some evidence to support the non-moving party is not sufficient for denial of

summary judgment; there must be ‘sufficient evidence favoring the nonmoving party for a jury

to return a verdict for that party.’" Bailey v. Allgas, Inc., 284 F.3d 1237, 1243 (11th Cir. 2002)

(quoting Anderson, 477 U.S. at 249). "If the evidence is merely colorable, or is not significantly

probative, summary judgment may be granted." Anderson, at 249-250. (internal citations
omitted).

       The basic issue before the Court on a motion for summary judgment is “whether the

evidence presents a sufficient disagreement to require submission to a jury or whether it is so

one-sided that one party must prevail as a matter of law.” See Anderson, 477 U.S. at 251-252.

The moving party bears the burden of proving that no genuine issue of material fact exists.

O'Ferrell v. United States, 253 F.3d 1257, 1265 (11th Cir. 2001). In evaluating the argument of

the moving party, the court must view all evidence in the light most favorable to the non-moving

party, and resolve all reasonable doubts about the facts in its favor. Burton v. City of Belle

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Glade, 178 F.3d 1175, 1187 (11th Cir.1999). “If reasonable minds could differ on the

inferences arising from undisputed facts, then a court should deny summary judgment.” Miranda

v. B&B Cash Grocery Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992) (citing Mercantile Bank

& Trust v. Fidelity & Deposit Co., 750 F.2d 838, 841 (11th Cir. 1985)).

       Once the movant satisfies his initial burden under Rule 56(c), the non-moving party

"must make a sufficient showing to establish the existence of each essential element to that

party's case, and on which that party will bear the burden of proof at trial." Howard v. BP Oil

Company, 32 F.3d 520, 524 (11th Cir.1994)(citing Celotex Corp. v. Catrett, 477 U.S. 317, 324

(1986)). Otherwise stated, the non-movant must “demonstrate that there is indeed a material

issue of fact that precludes summary judgment.” See Clark v. Coats & Clark, Inc., 929 F.2d 604,

608 (11th Cir. 1991). The non-moving party “may not rest on the mere allegations or denials of

the [non-moving] party’s pleading, but .... must set forth specific facts showing that there is a

genuine issue for trial.” FED. R. CIV. P. 56(e) “A mere ‘scintilla’ of evidence supporting the

[non-moving] party’s position will not suffice; there must be enough of a showing that the jury

could reasonably find for that party.” Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir. 1990)

(citation omitted). “[T]he nonmoving party may avail itself of all facts and justifiable inferences

in the record taken as a whole.” Tipton v. Bergrohr GMBH-Siegen, 965 F.2d 994, 998 (11th Cir.

1992). “Where the record taken as a whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.” Matsushita Elec. Indus. Co., Ltd. v.

Zenith Radio Corp., 475 U.S. 574 at 587 (1986) (internal quotation and citation omitted).

A. Plaintiffs’ Claims

       Plaintiffs’ complaint asserts state law claims for assault and battery, negligent

supervision, outrage, and false imprisonment. Plaintiffs also assert a claim under 42 U.S.C. §

1983 for defendants’ violation of the 4th, 8th, and 14th Amendments to the Constitution of the

United States.

       1. State law claims against the City


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       By statute in Alabama, a municipality can only be held liable for injuries caused by the

negligence of its agents, officers, or employees. ALA. CODE § 11-47-190. Thus, the City of

Foley cannot be held liable for the intentional actions of its officers. Id.; see also Brooks v. City

of Birmingham, 584 So.2d 451 (Ala. 1991). Nor can claims of wantoness be maintained against

the City. Hilliard v. City of Huntsville, 585 So.2d 889 (Ala. 1991). In addition, Alabama law

provides statutory immunity to law enforcement officers “from tort liability arising out of his or

her conduct in performance of any discretionary function within the line and scope of his or her

law enforcement duties.” ALA.CODE § 6-5-338(a). The statute also states that it “is intended to

extend immunity only to peace officers and governmental units or agencies authorized to appoint

peace officers.” ALA.CODE § 6-5-338(b) (emphasis added). The Alabama Court of Civil

Appeals has concluded that “the plain language of ALA.CODE 1975, § 6-5-338(b), clearly

extends discretionary-function immunity to [a municipality].” Montgomery v. City of

Montgomery, 732 So.2d 305, 312 (Ala. Civ. App. 1999). Moreover, Alabama does not

recognize an action against a municipality for negligent hiring, supervising, or training. As this

court has previously explained:

       Municipal liability under Section 11-47-190 is based on the doctrine of
       respondeat superior. E.g., City of Lanett v. Tomlinson, 659 So.2d 68, 70 (Ala.
       1995). For the employer to be liable under that doctrine, the employee must first
       be liable for a tort. “If the agent is not liable for any tort, the principal is also
       absolved.” Latham v. Redding, 628 So.2d 490, 495 (Ala. 1993). Thus, to survive
       a motion for summary judgment, a plaintiff must first show that a species of tort
       exists for which the employee may theoretically be held liable. In this case, the
       plaintiffs must show that Alabama law recognizes a cause of action against a
       supervisory employee for the negligent training or supervision of a subordinate.

Ott v. City of Mobile, 169 F.Supp.2d 1301,1314 (S.D. Ala. 2001). In Ott, the court stated that it

“is satisfied that no such cause of action exists.” Id. Even if Alabama recognized such causes of

action, plaintiffs would be required to present evidence regarding the employer’s constructive

awareness of the employee’s incompetency. Id. at 1315. Plaintiffs have not done so here.

Therefore, summary judgment is due to be granted as to the state law claims asserted against the

City of Foley.


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       2. State law claims against the Officers

       Defendants assert that issue preclusion or collateral estoppel bars plaintiffs’ state law

claims for assault and battery and false imprisonment. “In this Circuit, the use of a criminal

conviction as conclusive of an issue in subsequent civil litigation is well-established.” Parris v.

Town of Alexander City, 45 F.Supp.2d 1295, 1300 n 6 (M.D. Ala. 1999) (citing Matter of

Raiford v. Abney, 695 F.2d 521, 523 (11th Cir.1983)). Plaintiffs were both convicted of

obstructing governmental operations, resisting arrest, and assault in the third degree with regard

to the incident in question. Thus, it has been conclusively established as necessary elements of

plaintiffs’ convictions that they intentionally obstructed, impaired, or hindered the administration

of law or an activity which a public servant was legally authorized to undertake on behalf of a

government. It is also conclusively determined that plaintiffs intentionally attempted to prevent

a peace officer from effecting a lawful arrest of himself or another person. In addition, it has

been determined that plaintiffs caused physical injury to Officers Shawn Miller, Heidi Loftis,

and Tony Nelson with the intent to cause physical injury to them. Plaintiffs’ use of physical

force was not justified as self-defense.

       As such, the court agrees that plaintiffs are precluded from asserting that their arrests or

imprisonments were unlawful, or that the physical force used by the officers during those events

was unlawful. A finding that plaintiffs’ use of physical force was lawful is inconsistent with

their conviction. The plaintiffs were found to have assaulted all three officers and cannot deny

their actions in this subsequent civil litigation or claim they acted in self-defense. Although

plaintiffs assert that some of the conduct at issue occurred after their arrest, they were convicted

of assault and battery with regard to their specific actions towards all three officers - regardless

of when the actual “arrest” occurred. For instance, Terry Styron was alleged to have hit Officer

Loftis in the back of the head and to have taken the pepper spray from Loftis. At Terry Styron’s

criminal trial, this was the only conduct from which injury to Loftis was alleged to have resulted

or been intended. Terry Styron’s actions toward Loftis were conclusively determined to be


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wrongful and were found not to constitute self-defense. As such, the force used by Loftis could

not have been excessive. Plaintiffs allege that Terry merely followed Loftis and did what she

told him to do, but that is directly contrary to what the jury found at his criminal trial. Because

Terry Styron’s account cannot be reconciled with the jury’s conclusion, he is precluded from

asserting such claims.

       The court also finds that plaintiffs have not asserted a viable claim of outrage. The tort of

outrage was first recognized under Alabama law in American Road Serv. Co. v. Inmon, 394

So.2d 361 (Ala. 1980). To recover on the tort of outrage, the plaintiff must show that the

defendant’s conduct: (1) was intentional or reckless; (2) was extreme and outrageous and (3)

caused emotional distress so severe that no reasonable person could be expected to endure it. Id.,

at 365; Thomas v. BSE Indus. Contractors, Inc., 624 So.2d 1041, 1043 (Ala. 1993); Ex parte

Crawford & Co., 693 So.2d 458, 460 (Ala. 1997). Outrage is a very narrowly recognized cause

of action which imposes an extremely high burden on the plaintiff. As the Inmon Court stated,

       Any recovery must be reasonable and justified under the circumstances, liability
       ensuing only when the conduct is extreme. . . . By extreme we refer to conduct so
       outrageous in character and so extreme in degree as to go beyond all possible
       bounds of decency, and to be regarded as atrocious and utterly intolerable in a
       civilized society.

Inmon, 394 So.2d at 365. The Alabama Court of Civil Appeals has emphasized the narrow

circumstances that may give rise to recovery.

       The tort of outrage was not developed to provide a person with a remedy for the
       trivial emotional distresses that are common to each person in his everyday life.
       Such distress is the price of living among people... Thus, in order to prevent the
       tort of outrage from becoming a panacea for all of life’s ills, recovery must be
       limited to distress that is severe.

U.S.A. Oil, Inc. v. Smith, 415 So.2d 1098, 1101 (Ala.Civ.App. 1982)(reversing judgment in

favor of plaintiff who filed outrage claim after termination where former employer threatened

criminal action against plaintiff for work misconduct.), cert. denied, 415 So.2d 1102. In fact, the

Alabama Supreme Court has recognized the tort of outrage in only three areas: “(1) wrongful




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conduct within the context of family burials[2]; (2) an insurance agent’s coercing an insured into

settling an insurance claim[3]; and (3) egregious sexual harassment[4].” Callens v. Jefferson

County Nursing Home, 769 So.2d 273, 281 (Ala. 2000).

       Outside of these categories, shocking conduct is often deemed by Alabama courts to be

insufficient to create a jury question. For example, in Grantham v. Vanderzyl, 802 So.2d 1077

(Ala. 2001), a surgical nurse sued Dr. Keith Vanderzyl, an orthopedic surgeon, on outrage and

other claims. The plaintiff alleged that during an orthopedic procedure, the surgeon took “one of

the surgical drapes containing the patient’s blood and surgical refuse and threw it at Grantham.”

Upon seeing that “blood and fluids were on [the plaintiff’s] face”, the defendant remarked, “I

don’t give a damn.” Grantham, 802 So.2d at 1079. The plaintiff was advised to consider herself

HIV-positive, and she underwent periodic blood tests for HIV, hepatitis, and other diseases for

one year. Id. The trial court granted summary judgment in favor of the defendant, and plaintiff

appealed. On appeal, the Alabama Supreme Court affirmed the trial court’s grant of summary

judgment on the outrage claim. “The trial court correctly held that [plaintiff’s] allegations, even

if true, do not state conduct rising to the level required to constitute the tort of outrage under

Alabama law.” Id. at 1081. This is consistent with the Alabama Supreme Court’s statement that

it has “applied the Inmon test strictly, thereby allowing an outrage claim to go to the jury only in

egregious cases.” Ex parte Crawford & Co., 693 So.2d 458, 459 (Ala. 1997) (citing State Farm


       2
         See e,g,, Gray Brown-Service Mortuary, Inc. v. Lloyd, 729 So.2d 280 (Ala.
1999)(cemetery’s secretive disinterment and gross abuse of corpse supported judgment in favor
of plaintiff).
       3
        See, e.g., National Security Fire & Cas. Co. v. Bowen, 447 So.2d 133, 141 (Ala.
1983)(insurance investigators’ orchestration of false criminal charges against insured, threats of
harm to insured’s son, and holding insured at gunpoint to coerce settlement of insurance claim
was conduct “so horrible, so atrocious, [and] so barbaric” as to constitute outrage).
       4
         See, e.g., Machen v. Childersburg Bancorporation, 761 So.2d 981 (Ala. 1999)(reversing
summary judgment on finding that evidence of repeated inappropriate sexual conduct by
plaintiff’s supervisor at work precluded summary judgment).

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Automobile Ins. Co. v. Morris, 612 So.2d 440 (Ala. 1993); Gibson v. Southern Guaranty Ins.

Co., 623 So.2d 1065 (Ala. 1993); Gibbs v. Aetna Casualty & Surety Co., 604 So.2d 414 (Ala.

1992); Farley v. CNA Ins. Co., 576 So.2d 158 (Ala. 1991); Empiregas, Inc. of Gadsden v. Geary,

431 So.2d 1258 (Ala. 1983)).

        Given that plaintiffs have been found to have resisted a lawful arrest and assaulted

Officers Miller, Loftis, and Nelson, the court finds that the alleged conduct was not “so

outrageous in character and so extreme in degree as to go beyond all possible bounds of decency,

and to be regarded as atrocious and utterly intolerable in a civilized society.” Inmon, 394 So.2d

at 365. The court notes that there is no evidence that the defendant officers were responsible for

plaintiffs’ medical treatment and detention at the jail. Officer Nelson is alleged to have begun

transporting Herbert Styron, however Mr. Styron’s deposition testimony indicates that Nelson’s

conduct during the transport was not outrageous. The court finds that plaintiffs have not asserted

a viable claim of outrage.

        3. § 1983

        Plaintiffs assert a claim against all defendants under 42 U.S.C. § 1983 for violation of

the 4th, 8th, and 14th Amendments to the Constitution of the United States. Specifically,

plaintiffs allege that defendant officers violated plaintiffs’ constitutional rights by (1) arresting

plaintiffs without probable cause, (2) maliciously beating and pepper spraying plaintiffs, (3)

refusing to allow plaintiffs to wash the spray out of their eyes while in jail, (4) refusing to give

plaintiffs blankets and medicine prescribed by a doctor, (5) refusing to release plaintiffs when

plaintiffs had been released on bail by a Court officer. Plaintiffs allege that the City of Foley

violated plaintiffs’ constitutional rights in the following manner:

        by creating and maintaining a policy and custom of failing to properly train and
        improperly training its police officers and allowing them to leave their
        jurisdiction and unlawfully arrest persons outside of their jurisdiction, who
        furthermore had a legal permit from the State of Alabama to do what they were
        doing.

(Amended Complaint ¶ 31).


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       The Supreme Court of the United States has held that a defendant must first have his

conviction overturned before he may properly bring a § 1983 claim for damages arising from

that conviction. Heck v. Humphrey, 512 U.S. 477, 114 S.Ct. 2364, 129 L.Ed.2d 383 (1994). In

Heck, the Court held that a civil tort action, including an action under 42 U.S.C. § 1983, is "not

[an] appropriate vehicle[ ] for challenging the validity of outstanding criminal judgments." 512

U.S. at 486. Heck dictates that when a person convicted of aggravated assault against a police

officer brings a § 1983 claim against arresting officers, the district court must first "consider

whether a judgment in favor of the plaintiff would necessarily imply the invalidity of his

conviction or sentence." Hainze v. Richards, 207 F.3d 795, 798 (5 th Cir. 2000), quoting Heck,

512 U.S. at 487. If so, the claim is barred unless the conviction has been reversed or declared

invalid. Plaintiffs’ convictions have not been reversed or declared invalid. Plaintiffs’ § 1983

claims may be entertained, therefore, only if a holding in the plaintiffs’ favor will not necessarily

call into question the validity of their convictions. Applying this test, the court concludes that

plaintiffs’ claims that allege unlawful arrest and excessive force are not cognizable under §1983.

See Hudson v. Hughes, 98 F.3d 868, 872 (5th Cir. 1996)(finding that neither the plaintiff’s false

arrest claim nor his excessive force claim were cognizable under § 1983). Plaintiffs’ convictions

for resisting arrest, necessarily included as an element that the arrest was lawful. Likewise,

recovery for excessive force would imply the invalidity of plaintiffs’ assault and battery

convictions. As the Hudson Court explained:
       Because self-defense is a justification defense to the crime of battery of an officer,
       Hudson's claim that Officers Defillo, Hingle, and Lanasa used excessive force
       while apprehending him, if proved, necessarily would imply the invalidity of his
       arrest and conviction for battery of an officer. This is true because the question
       whether the police applied reasonable force in arresting him depends in part on
       the degree of his resistance, which in turn will place in issue whether his
       resistance (the basis of his conviction for assaulting a police officer) was justified,
       which, if it were, necessarily undermines that conviction.

Id., at 873. Thus, plaintiffs’ claims that the officers arrested plaintiffs without probable cause

and used excessive force by maliciously beating and pepper spraying plaintiffs are barred.



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       Likewise, plaintiffs’ claims against the City of Foley for “allowing them to leave their

jurisdiction and unlawfully arrest persons outside of their jurisdiction” are barred. A finding in

favor of plaintiffs on such claims would necessarily imply the invalidity of plaintiffs’

convictions since plaintiffs’ convictions for resisting arrest included as an element that the

arrests were lawful.

       Plaintiffs’ remaining claims do not fall under the limitations of Heck v. Humphrey.

Plaintiffs’ claims that the defendant officers refused to allow plaintiffs to wash the spray out of

their eyes while in jail, to give plaintiffs blankets and medicine prescribed by a doctor, and to

release plaintiffs when plaintiffs had been released on bail by a Court officer are not directly

related to the facts underlying plaintiffs’ convictions. These alleged actions did not occur at the

scene of the arrest, but later that day, after the initial confrontation from which the convictions

are based had come to an end. However, plaintiffs do not identify the officers who were

allegedly responsible for the above conduct. No evidence was submitted to suggest that the

officers named as defendants in this case were responsible directly. “[T]o hold these individual

Defendants liable under § 1983, the Plaintiff must allege that they either actually participated in

the alleged constitutional violation or that a causal connection exists linking their supervisory

actions to the violation.” Smith v. Citrus County, Fla., 2005 WL 1065545, *3 (M.D. Fla. May 2,

2005) (citing Lewis v. Smith, 855 F.2d 736, 737 (11th Cir.1988)). The only officer plaintiffs

allege is responsible in a supervisory capacity is Chief James Miller. However, as the court will

discuss in more detail below with regard to the City’s liability, there is no evidence that Chief

Miller was aware of a need for additional training or supervision in the treatment of inmates.

       Additionally, defendants claim they are entitled to qualified immunity. “Qualified

immunity protects government officials performing discretionary functions from civil trials ...

and from liability if their conduct violates no clearly established statutory or constitutional rights

of which a reasonable person would have known.” Lassiter v. Alabama A & M Univ., 28 F.3d
1146, 1149 (11th Cir. 1994) (en banc) (internal quotations and citations omitted). “The purpose


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of this immunity is to allow government officials to carry out their discretionary duties without

the fear of personal liability or harassing litigation, protecting from suit all but the plainly

incompetent or one who is knowingly violating the federal law.” Lee v. Ferraro, 284 F.3d 1188,

1194 (11th Cir.2002) (internal quotation marks and citations omitted).

        To receive qualified immunity, the public official “must first prove that he was acting

within the scope of his discretionary authority when the allegedly wrongful acts occurred.” Lee

v. Ferraro, 284 F.3d 1188, 1194 (11th Cir.2002) (internal quotation marks omitted). Here the

officers were clearly acting within their discretionary authority in arresting defendants,

transporting them to jail, checking them in and managing the jail and the custody of plaintiffs.

Plaintiffs admit that the individual defendants were acting pursuant to their discretionary

authority. (Doc. 64, pp. 16-17). “Once the defendant establishes that he was acting within his

discretionary authority, the burden shifts to the plaintiff to show that qualified immunity is not

appropriate.” Lee, 284 F.3d at 1194.

        Plaintiffs must first show that they have stated a claim for a constitutional violation or a

violation of a federal right. Marsh v. Butler County, Ala., 268 F.3d 1014, 1028 (11th Cir. 2001)

(citation omitted); see also Selma Housing Development Corp. v. Selma Housing Authority,

2005 WL 1981290, *14 (S.D. Ala. Aug. 16, 2005) (stating that relief under § 1983 may be

sought for constitutional violations as well as violations of certain rights created by federal

statutes) (citation omitted). An official's “deliberate indifference to a known, substantial risk of

serious harm to an inmate violates the Eighth Amendment.” Id. (citing Helling v. McKinney, 509

U.S. 25, 113 S.Ct. 2475, 2480, 125 L.Ed.2d 22 (1993).

        An Eighth Amendment violation will occur when a substantial risk of serious
        harm, of which the official is subjectively aware, exists and the official does not
        ‘respond[ ] reasonably to the risk.’” Farmer v. Brennan, 511 U.S. 825, 114 S.Ct.
        1970, 1982-83, 128 L.Ed.2d 811 (1994). A plaintiff must also show that the
        constitutional violation caused his injuries.

Marsh, 268 F.3d at 1028. In this case, the court finds that the officers’ failure to administer
prescription medicine to plaintiffs in jail did not pose a substantial risk of serious harm of which


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the officials were aware existed. Herbert Styron admitted that he was given his prescribed

blood-pressure medicine at the jail. As for the pain medication, Herbert Styron claims he gave

the officers a slip of paper that he thinks was a prescription for the medicine, but he does not

know what it actually said. Even if the slip of paper contained instructions on how to take the

pain medication, plaintiff does not know when it indicated he should receive the medicine. As

such, there is no evidence that the officers knew the medication had been prescribed. Nor is

there evidence that the failure to administer the pain medication posed a substantial risk of

serious harm. There is also no evidence that any medicine had been prescribed for Terry Styron

at the time he was in custody. He was diagnosed later with hernias, but neither he nor the

officers were aware of his condition at the time of his arrest. In addition, there is no indication

that Terry Styron’s condition was caused by his failure to receive any medication.

       As to the failure of the officers to provide plaintiffs with blankets, the court finds such

conduct does not rise to the level of a constitutional or federal violation. The officers’ failure to

provide blankets to plaintiffs in jail did not pose a substantial risk of serious harm of which the

officials were aware existed. Herbert Styron claims he was cold during the night and early

morning after his arrest, but he did not complain about the temperature until the next morning. If

the officers were aware of Styron’s need for a blanket, their failure to provide one may have

resulted in Styron being uncomfortable, but was not substantially likely to cause serious harm.

       As to plaintiffs’ claims that the defendant officers refused to allow plaintiffs to wash the

spray out of their eyes while in jail, the court finds that the evidence does not support their claim.

Plaintiffs were allowed to wash their eyes out. Terry Styron even admitted that he was given a

wash cloth to do so. Plaintiffs contention appears to be that they should have been allowed to

wash the pepper spray out sooner. However, the court finds that the delay does not rise to the

level of a constitutional violation. The delay did not pose a substantial risk of serious harm of

which the officials were subjectively aware existed. Terry Styron was allowed to begin washing

the pepper spray from his eyes when he arrived at the jail. While he contends that he was not


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allowed to finish washing until an hour later, there is no indication that the delay posed a serious

risk of harm. As to Herbert Styron, he was taken to the hospital prior to being transported to the

jail, and there is no indication that he needed to wash his eyes out when he arrived at the jail.

        Lastly, plaintiffs assert that the officers failed to release plaintiffs when plaintiffs had

been released on bail by a Court officer. Terry Styron states that a county officer came to pick

him up and take him to Bay Minette three times, but was told that the paperwork was not

completed. Terry Styron also claims he overheard officers talking on the phone reporting that

the deputy had not come yet to pick up Terry Styron, when, in fact, the deputy was standing at

the desk. There is no testimony about how long of a delay there was in plaintiffs’ release. Nor is

there any evidence that the reason given for not releasing plaintiffs - that the paperwork was not

yet completed - was false. The only real evidence of wrongdoing on behalf of the officers is

plaintiffs’ report that he overheard one side of an unnamed officer’s telephone conversation.

        Even if any of the claimed conduct violated plaintiffs’ constitutional rights, defendants

are still entitled to qualified immunity unless their conduct violates “clearly established statutory

or constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald,

457 U.S. 800, 818, 102 S.Ct. 2727, 2733, 73 L.Ed.2d 396 (1982). The right was “clearly

established,” if at the time of the incident, the "pre-existing law...dictate[s], that is, truly

compel[s]...the conclusion for every like-situated reasonable government agent that what

defendant [was] doing violate[d] federal law in the circumstances.” Lassiter v. Alabama A&M

Univ., 28 F.3d 1146, 1150 (11th Cir.1994). The plaintiff may not discharge his burden "by

referring to general rules and to the violation of abstract ‘rights’." Id. at 1150. Qualified

immunity is evaluated on the basis of what the official knew at the time of the challenged action,

not "by hindsight, based on later events." Id. at 1150. The court notes that plaintiffs have only

argued that qualified immunity did not apply to their excessive force claims. The court finds that

defendants’ alleged violations of failing to administer the pain medication, not allowing Terry

Styron to finish washing the pepper spray from his eyes until after he was checked in and put in


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his cell, failing to provide blankets in jail, and delaying their release do not constitute violations

of clearly established statutory or constitutional rights. Plaintiffs have not shown that

preexisting law compels the conclusion that all reasonable officers in defendants’ position would

know that their actions violated plaintiffs’ federal rights.

       In order to state a claim under § 1983 against the City of Foley, plaintiffs must allege that

they suffered a constitutional injury, and that their injury was caused by “a policy statement,

ordinance, regulation, or decision officially adopted and promulgated by that body’s officers.”

Monell v. Dept. of Soc. Servs., 436 U.S. 658, 690 (1978). A municipality cannot be held liable

under §1983 solely because it employs a tortfeasor. Id. at 2035. In Board of the County

Commissioners of Bryan County v. Brown, 520 U.S. 397, 117 S.Ct. 1382 (1997), the test set out

above by Monell was subsequently narrowed by the Supreme Court when it stated:

       [I]t is not enough for a § 1983 plaintiff to identify conduct properly attributable to
       the municipality. The plaintiff must also demonstrate that, through its deliberate
       conduct, the municipality was the "moving force" behind the injury alleged. That
       is, a plaintiff must show that the municipal action was taken with the requisite
       degree of culpability and must demonstrate a direct causal link between the
       municipal action and the deprivation of federal rights.

Brown, 520 U.S. at 404, 117 S.Ct. at 1388. The plaintiff’s burden is heavy. As noted by the

Eleventh Circuit Court of Appeals:

       This high standard of proof is intentionally onerous for plaintiffs; imposing
       liability on a municipality without proof that a specific policy caused a particular
       violation would equate to subjecting the municipality to respondeat superior
       liability-a result never intended by section 1983. As the Supreme Court has
       explained, '[t]o adopt lesser standards of fault and causation would open
       municipalities to unprecedented liability under § 1983. In virtually every instance
       where a person has had his or her constitutional rights violated by a city
       employee, a § 1983 plaintiff will be able to point to something the city "could
       have done" to prevent the unfortunate incident. Thus, permitting cases against
       cities for their "failure to train" employees to go forward under § 1983 on a lesser
       standard of fault would result in de facto respondeat superior liability on
       municipalities ....' " (citing City of Canton [v. Harris], 109 S.Ct. [1197] at 1206
       [(1989)]); see also Brown, [520 U.S.] at 415-16, 117 S.Ct. at 1394 ("Where a
       court fails to adhere to rigorous requirements of culpability and causation,
       municipal liability collapses into respondeat superior liability.").

Gold v. City of Miami, 151 F.3d 1346, 1351 n. 10 (11th Cir.1998). Under § 1983, the “requisite



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degree of culpability” is that the municipality acted with at least “deliberate indifference” to the

consequences of its actions. Plaintiffs must show not only that the municipal officers violated

their constitutional rights, but that the City’s policies were the “moving force” behind their

injury. “A finding of culpability cannot depend simply on the mere probability that any officer

inadequately screened will inflict any constitutional injury, but must instead depend on a finding

that the particular officer was ‘highly likely to inflict the particular injury suffered by the

plaintiff.’” Romero v. City of Clanton, 220 F.Supp.2d 1313, 1317 (M.D. Ala. 2002) (quoting

Brown, 520 U.S. at 412) (emphasis in original). “[O]nly where adequate scrutiny of an

applicant's background would lead a reasonable policymaker to conclude that the ‘plainly

obvious consequence of the decision to hire the applicant would be a deprivation of a third

party's federally protected right can the official's failure to adequately scrutinize the applicant's

background constitute deliberate indifference.’” Raby v. Baptist Medical Center, 21 F.Supp.2d

1341, 1353 (M.D. Ala.1998) (quoting Brown, 520 U.S. at 411).

        Plaintiffs assert that the City’s failure to properly train and supervise officers amounts to

a municipal policy. The failure to train employees in a particular area can amount to municipal

policy, but, as stated above, that policy must amount to “deliberate indifference” to the rights of

the City’s citizens. Brown, 520 U.S. at 398. There was testimony that the officers on duty at the

jail were trusted to provide proper treatment to inmates without Chief Miller checking up on the

officers. The court does not find that such action, or inaction, without more, constitutes

“deliberate indifference” to the inmates’ rights. Moreover, the Eleventh Circuit has held that

without notice of a need to train or supervise in a particular area, a municipality is not liable as a

matter of law for any failure to train and supervise. Church v. City of Huntsville, 30 F.3d 1332,

1342-46 (11th Cir.1994), (holding that the plaintiffs were not likely to succeed on the merits of

their failure-to-train claim without proof that the City was aware of a prior incident in which

constitutional rights were similarly violated); see also Popham v. City of Talladega, 908 F.2d
1561, 1564-65 (11th Cir.1990) (finding no liability for failure to train when no pattern of


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incidents put the City on notice of a need to train). Plaintiffs assert that because Chief James

Miller was aware that the City of Foley had previously been sued before for mistreatment and

failure to provide medical attention, that the City was aware of the need to train and supervise.

(Miller Depo. p. 23). However, the previous case referred to by plaintiffs, O’Gwynn v. City of

Foley, Case No. 00-cv-00273-CB-S, Doc. 124, concerned the alleged failure of the City of Foley

to adequately train officers regarding the handling of the mentally ill. Moreover, summary

judgment was granted in favor of the City of Foley. The court finds that the O’Gwynn case did

not put the City on notice that the problems alleged in this case were likely to occur. Plaintiffs

have presented no other evidence that the City was aware of a need for additional training or

supervision in the treatment of inmates. Moreover, as discussed above regarding the individual

officers’ liability under § 1983, the court finds that plaintiffs have not shown a constitutional

violation. Nor does it appear that the City’s “policy” was the “moving force” behind the alleged

constitutional violation. As stated above, a city cannot be held liable under §1983 for employing

a tortfeasor, there must be some culpability on the City itself.

                                          CONCLUSION

       For the reasons stated above, the motion of defendants, City Of Foley, James Miller,

James Brown, Bruce Thrift, Darren Miller, Tony Nelson and Heidi Loftis, for summary

judgment (Doc. 44) is GRANTED. The court notes that the only remaining claims in this case

are the counterclaims of James Brown, Darren Miller, Tony Nelson and Heidi Loftis for assault

and battery. (Doc. 33).

       DONE and ORDERED this 18th day of November, 2005.


                                               /s/ Callie V. S. Granade
                                               CHIEF UNITED STATES DISTRICT JUDGE




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